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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 OPTUM, INC. and
 OPTUM SERVICES, INC.,

                          Plaintiffs,
                                                            Civil Action No.: 19-cv-10101-MLW
            v.

 DAVID WILLIAM SMITH,

                          Defendant.


                 PLAINTIFFS’ FURTHER REPLY IN SUPPORT OF THEIR
                  MOTION FOR TEMPORARY RESTRAINING ORDER

       This Court has asked the parties to be prepared to address the standard for obtaining

temporary injunctive relief, as set out in Winter v. NRDC, 555 U.S. 7 (2008), and Charlesbank

Equity Fund II v. Blinds to Go, Inc., 370 F.3d 151 (1st Cir. 2004) (Dkt. # 88). Both of those

decisions confirm that Optum, Inc. and Optum Services, Inc. (together, “Optum”) are entitled to

a TRO because they are certain to suffer irreparable harm and because they have no adequate

remedy at law for such harm.

       In Winter, the U.S. Supreme Court confirmed that a plaintiff seeking a preliminary

injunction must show a likelihood of success on the merits, a likelihood that it will suffer

irreparable harm in the absence of an injunction, that the balance of equities tips in its favor, and

that the injunction is in the public interest. 555 U.S. at 20. As explained in Optum’s briefing to

date, Optum’s request for a TRO clears that bar by some margin. Smith argues in response that

Optum’s assertions of irreparable harm are purely speculative; he is wrong and the decisions

in Winter and Charlesbank confirm that.

       In Winter, a group of environmental plaintiffs challenged the U.S. Navy’s sonar-training

exercises, alleging that the Navy had not adequately examined whether the exercises would harm
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marine mammals and alleging that harm to marine mammals would injure the plaintiffs’

scientific, recreational, and ecological interests. Plaintiffs sought a preliminary injunction

halting the sonar exercises and the lower courts enjoined certain aspects of those exercises. 555

U.S. at 16-18. In vacating the preliminary injunction, the Supreme Court took as a given

(without deciding) that the plaintiffs had established a likelihood of success on the merits of their

substantive claims—but held that an injunction was unwarranted because the plaintiffs had not

demonstrated that irreparable injury to them was likely in the absence of an injunction. 555 U.S.

at 21-22. Applying the lessons of Winter to this case, it is clear that the opposite is true here.

       In affirming the preliminarily injunction in Winter, the Ninth Circuit had held that it

was sufficient for the plaintiffs to establish the “possibility” of irreparable harm absent an

injunction. 555 U.S. at 22. The Supreme Court rejected that standard, reiterating that a plaintiff

must show that irreparable harm is likely, not merely possible, and finding that the plaintiffs had

not met that burden because it was speculative whether the activities the plaintiffs sought to

enjoin would in fact injure marine mammals—let alone injure plaintiffs themselves. See id. at 21

(noting evidence that there were literally no documented cases of injury to marine mammals

from the sonar exercises in the relevant geographic area).

       Applying the holding and reasoning of Winter to this case demonstrates that a TRO is

warranted. Assuming that Optum has established a likelihood of success on the merits (like the

plaintiffs in Winter), it is certain that the activities Optum seeks to enjoin would irreparably

injure Optum (unlike the plaintiffs in Winter). Optum seeks to enjoin Smith from sharing

Optum’s trade secrets with ABC and from violating the noncompete agreement Smith signed. It

is well established that “a breach of non-compete agreements tied to trade secrets concerns

triggers a finding of irreparable harm.” Aspect Software, Inc. v. Barnett, 787 F. Supp. 2d 118,

130 (D. Mass. 2011). This Court has recognized that “[t]he use and disclosure of [an employer’s]


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confidential information is, in itself, an irreparable harm.” Bos. Sci. Corp. v. Lee, No. CIV.A. 13-

13156-DJC, 2014 WL 1946687, at *6 (D. Mass. May 14, 2014) (citing Aspect). The reason for

that is straightforward: “once the trade secret is lost, it is gone forever.” TouchPoint Sols., Inc. v.

Eastman Kodak Co., 345 F. Supp. 2d 23, 32 (D. Mass. 2004) (quoting FMC Corp. v. Taiwan

Tainan Giant Indus. Co., 730 F.2d 61, 63 (2d Cir. 1984)).

       If this Court agrees that Optum has established a likelihood of success on the merits of its

breach-of-contract or trade-secret-misappropriation claims, it should therefore find that Optum

has established a likelihood that it will suffer irreparable injury absent a preliminary

injunction. If Smith discloses Optum’s trade secrets to ABC—whether by sharing confidential

documents or by using his inside knowledge of Optum’s strategic plans—the harm to Optum

is certain (not merely likely) and irreparable. Once Smith shares Optum’s trade secrets with

ABC (wittingly or unwittingly), they cannot be unshared. Indeed, that is precisely why Optum

uses noncompete agreements: once an employee like Smith who engages in high-level strategic

planning has access to a company’s market strategies and trade secrets, he cannot unlearn what

he has learned when he goes to work for a competitor. ABC hired Smith to develop new

products and services that will compete with Optum’s (indeed, that are intended to compete

directly for some of Optum’s customers); in performing that role, Smith cannot avoid using the

inside information he acquired at Optum. The use of that information to help a competitor is

certain to harm Optum.

       The First Circuit’s decision in Charlesbank further confirms that Optum has established a

likelihood of irreparable harm absent an injunction. The court in that case confirmed that an

injunction is unwarranted where ordinary remedies at law are sufficient to compensate a plaintiff

for any injury. 370 F.3d at 161-163. In that case, the plaintiff sought monetary damages, the

paradigmatic legal remedy. The court rejected the plaintiff’s argument that preliminary


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injunctive relief was warranted because without it the defendant may not have sufficient funds to

pay a future judgment—in part because that is a common feature of claims for money damages

and in part because the plaintiff already had a security interest in all of the defendant’s

property. Id. at 162-163. None of the features of Charlesbank is present in this case. Optum

seeks to prevent irreparable harm by preventing Smith from sharing Optum’s trade secrets in

violation of his noncompete agreement and trade-secret-misappropriation laws—it is not seeking

through this injunction to preserve its ability to collect a money judgment from Smith for a

breach that has already occurred. Nor would it—because, as explained, the harm that flows from

an unauthorized disclosure of trade secrets cannot be repaired fully through money

damages. The information Smith misappropriated is now in his head; it is integrated into his

thinking about this corner of the market. It will not be possible after the fact to establish exactly

which aspects of which new products and services stemmed from misappropriated trade

secrets—which is precisely why Optum seeks now to prevent the disclosure of those secrets.

       Optum has spent years developing its products, services, and market strategies. If Smith

shares that information with a competitor, all of the competitive advantage Optum has toiled to

build will be wiped out. Significantly, that harm would occur now even if ABC does not bring a

competing product to market for another year (or longer). Smith’s sharing of inside information

(which, to reiterate, he cannot avoid doing if he works for ABC because his own knowledge of

the market is informed by that inside information) will begin now to shape the development of

competing products and services and will inevitably speed those products and services to

market. That is an immediate competitive harm to Optum.

       Smith’s primary argument in response is that it is speculative whether he will actually

violate his non-compete agreement, whether he has misappropriated trade secrets, and whether

ABC is in fact a competitor. But that is an argument about whether Optum is likely to succeed


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on the merits, not an argument about whether—assuming Optum is likely to succeed on the

merits—it is also likely to suffer irreparable harm as a result of Smith’s actions. Optum has

briefed at length the wealth of evidence supporting the likelihood that it will succeed on the

merits and will not repeat those points here. The point of Winter and Charlesbank is that, in

addition to a likelihood of success, a plaintiff seeking preliminary injunctive relief must also

show a likelihood of irreparable harm that is more than speculative. Here, Optum has done just

that—it has shown that, assuming that Smith has taken its trade secrets to a competitor, and

absent a TRO, it stands to lose its trade secrets, the disclosure and/or use of which, once effected,

cannot be undone.

                                                          Respectfully submitted,

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                                                           OPTUM SERVICES, INC.,

                                                          By their attorneys,

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        Dated: February 20, 2019




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document has been filed through the CM/ECF system on
February 20, 2019, and will be served electronically to the registered participants as identified on
the Notice of Electronic Filing through the Court’s transmission facilities, and that non-
registered participants have been served this day by mail.

                                                         /s/ Stephen D. Riden




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